North Carolina General Assembly                    Ideal Vrs. Actual Populations Based on 2010 Census Results   Data Source: 2010 Census
                                                                        Wake At Large New

                                                    District   2010 Pop Ideal Pop Ideal +/-          % +/-
                                                       1         450,497 450,497           0          0.00%
                                                       2         450,496     450,497           -1      0.00%




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North Carolina General Assembly                                                                  Stat. Pack Report of Total Population by Race and Ethnicity                                                                      Data Source: 2010 Census
                                                                                                                    Wake At Large New

                                                                                  Total Population by Race                                                                                            Total Population by Ethnicity
                                                                                                                                                                % MR     Total    Total %                                % Non     White     % White
   District      Total        White    % White      Black    % Black    NA     % NA     A/PI    % A/PI    Other     % Other      MR         % MR     MR Black   Black    Black    Black     Hisp     % Hisp   Non Hisp    Hisp    Non Hisp   Non Hisp
      1         450,497      249,676   55.42%      132,320   29.37%    2,520   0.56%   25,252   5.61%     28,341     6.29%      12,388      2.75%      6,407    1.42%   138,727   30.79%    56,226   12.48%   394,271    87.52%   228,535     50.73%
      2         450,496      347,870   77.22%      54,190    12.03%    1,983   0.44%   23,688   5.26%     12,587     2.79%      10,178      2.26%      4,161    0.92%   58,351    12.95%    31,696    7.04%   418,800    92.96%   332,001     73.70%
                                        0.00%                 0.00%            0.00%            0.00%                0.00%                  0.00%               0.00%      0       0.00%              0.00%               0.00%                0.00%

   Totals:     900,993      597,546    66.32%      186,510   20.70%    4,503   0.50%   48,940   5.43%     40,928     4.54%      22,566     2.50%      10,568    1.17%   197,078   21.87%    87,922   9.76%    813,071    90.24%   560,536     62.21%




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North Carolina General Assembly                                                                 Stat. Pack Report of Voting Age Population by Race and Ethnicity                                                                     Data Source: 2010 Census
                                                                                                                      Wake At Large New

                                                                               Voting Age Population by Race                                                                                             Total Population by Ethnicity
                                                                                                                                                                   % MR     Total    % Total                                % Non     White     % White
   District      Total        White    % White     Black     % Black    NA     % NA     A/PI     % A/PI     Other     % Other      MR        % MR     MR Black     Black    Black     Black    Hisp     % Hisp   Non Hisp    Hisp    Non Hisp   Non Hisp
      1         346,442      205,591   59.34%      94,949    27.41%    1,730   0.50%   19,234    5.55%      18,129     5.23%      6,809      1.97%     3,056       0.88%   98,005    28.29%    36,196   10.45%   310,246    89.55%   191,504     55.28%
      2         319,938      252,184   78.82%      38,247    11.95%    1,325   0.41%   16,280    5.09%       7,664     2.40%      4,238      1.32%     1,479       0.46%   39,726    12.42%    18,966    5.93%   300,972    94.07%   242,504     75.80%
                                        0.00%                 0.00%            0.00%             0.00%                 0.00%                 0.00%                 0.00%      0       0.00%              0.00%               0.00%                0.00%

   Totals:     666,380      457,775    68.70%      133,196   19.99%    3,055   0.46%   35,514    5.33%      25,793     3.87%      11,047     1.66%      4,535      0.68%   137,731   20.67%    55,162   8.28%    611,218    91.72%   434,008     65.13%




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North Carollina General Assembly                                                                        Stat. Pack Report of Voter Registration by Party and Race                                                                      Data Source: NC Board of Elections
                                                                                                                          Wake At Large New

                                                                                                                Registration by Party                                                                                     Registration by Race Without Regard to
                                                      Racial %s among D's                                         Racial %s among R's                                         Racial %s among U's                                          Party
                                       White % of   Black % of               Other % of            White % of   Black % of               Other % of            White % of   Black % of               Other % of
  District     VR Total       %D           D            D        NA % of D       D        %R            R           R        NA % of R       R        %U           U            U        NA % of U       U        %L      % White   % Black       % NA       % Other
      1         278,712       50.31%     44.09%      48.57%       0.27%        7.07%      22.72%     92.17%       2.92%       0.17%        4.74%      26.73%     69.99%      15.30%       0.25%        14.46%     0.23%    62.02%    29.21%       0.24%        8.53%
      2         296,448      34.02%     65.02%       28.05%       0.26%        6.66%      37.53%    95.53%        0.99%       0.13%        3.35%      28.26%    83.29%        5.81%       0.20%       10.70%      0.19%    81.68%    11.56%      0.19%         6.57%



  Totals:      575,160       41.92%     52.85%       39.99%       0.26%        6.90%      30.35%    94.31%        1.69%       0.15%        3.85%      27.52%    77.03%       10.28%       0.22%       12.47%      0.21%   72.15%    20.11%       0.22%        7.52%




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North Carolina General Assembly                                                                     Stat. Pack Report of Voter Registration by Gender, Age & Ethnicity                                                                     Data Source: NC Board of Elections
                                                                                                                           Wake At Large New

                                        Voter Registration by Gender                                                          Voter Registration by Age                                                         Voter Registration by Ethnicity
   District      Total        Male     Male %     Female     Female %        Undes.        Total     18-25      18-25 %     26-40     26-40 %       41-65    41-65 %      66+     66+ %     Total    Hispanic   Hisp %    Non-Hisp Non H %        Undesign. Undes. %
      1         278,779      125,794   45.12%     150,389      53.95%   2,596     0.93%   278,757    37,849     13.58%      98,240    35.24%       110,202   39.53%      32,466   11.65%   278,773    5,650     2.03%     203,773      73.10%      69,350    24.88%
      2         296,381      139,264   46.99%     155,550      52.48%   1,567     0.53%   296,403    28,671      9.67%      81,064    27.35%       152,072   51.31%      34,596   11.67%   296,387    4,341     1.46%      240,306     81.08%      51,740    17.46%
                   0                    0.00%                   0.00%             0.00%      0                   0.00%                 0.00%                  0.00%                0.00%      0                 0.00%                   0.00%                 0.00%

   Totals:      575,160      265,058   46.08%      305,939   53.19%     4,163    0.72%    575,160    66,520     11.57%     179,304    31.17%      262,274    45.60%      67,062   11.66%   575,160    9,991     1.74%     444,079     77.21%       121,090      21.05%




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North Carolina General Assembly                                                                                                                            Stat. Pack Report of 2004 Election Results                                                                                        Data Source: NC Board of Elections
                                                                                                                                                                      Wake At Large New

                       2004 Auditor Campbell-Merritt                                           2004 Governor Easley-Ballantine-Howe                                             2004 President Kerry-Bush-Badnarik                                            2004 US Senate Bowles-Burr-Bailey
  District         Dem      Dem %       Rep         Rep %                       Dem          Dem %       Rep        Rep %        Lib           Lib %    Dem      Dem %        Rep       Rep %         Lib     Lib %   Other   Other %    Dem      Dem %     Rep       Rep %       Lib       Lib %       Other       Other %
     1            66,305    60.34%     43,572      39.66%                      74,412        64.91%     38,034     33.18%       2,191          1.91%   64,316    56.25%      49,342     43.15%        570     0.50%    119     0.10%    66,664    58.98%   44,732    39.58%      1,630      1.44%         0          0.00%
     2            49,562    41.61%     69,537      58.39%                      64,107        51.23%     59,224     47.33%       1,811          1.45%   46,861    37.50%      77,502     62.02%        511     0.41%    85      0.07%    50,204    40.70%   71,511    57.97%      1,642      1.33%         0          0.00%
                             0.00%                   0.00%                                    0.00%                 0.00%                      0.00%              0.00%                  0.00%                0.00%     0      0.00%               0.00%              0.00%                 0.00%                    0.00%
Election data is estimated since it is collected at the precinct level and districts are created at the census block level.
  Totals:       115,867         50.60%         113,109        49.40%         138,519         57.77%         97,258            40.56%   4,002   1.67%   111,177   46.46%    126,844     53.00%      1,081     0.45%    204     0.09%     116,868   49.44%   116,243   49.18%     3,272      1.38%          0         0.00%




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North Carolina General Assembly                                                                                                              Elections 2008 Results - 1                                                                                                           Data Source: NC Board of Elections
                                                                                                                                                Wake At Large New

                         2008 A. G. Cooper-Crumley               2008 Comm. Ag Ansley-Troxler          2008 Comm. of Labor Donnan-Berry           2008 State Auditor Wood-Merrit                           2008 Comm. of Insurance Goodwin-Odom                         2008 Super.of P.I. Atkinson-Morgan
  District      Dem          Dem %       Rep       Rep %     Dem       Dem %      Rep       Rep %    Dem      Dem %        Rep     Rep %     Dem        Dem %        Rep      Rep %     Dem      Dem %      Rep     Rep %         Lib      Lib %   Other   Other %    Dem      Dem %          Rep      Rep %
     1         154,982      75.64%      49,908     24.36%   118,365    58.62%   83,567     41.38%   122,983   61.04%     78,505    38.96%   127,660     63.55%      73,227    36.45%   129,185   64.05%   64,378    31.92%       8,009     3.97%    127     0.06%    137,231   68.38%        63,454    31.62%
     2         133,397      59.87%      89,413     40.13%   83,708     38.18%   135,512    61.82%   89,466    40.99%     128,785   59.01%   95,629      43.88%     122,311    56.12%   97,552    44.76%   110,713   50.80%       9,542     4.38%    143     0.07%    106,876   49.14%       110,635    50.86%
                             0.00%                 0.00%               0.00%                0.00%              0.00%                0.00%               0.00%                  0.00%             0.00%              0.00%                  0.00%            0.00%               0.00%                  0.00%

  Totals:     288,379       67.43%    139,321     32.57%    202,073   47.98%    219,079   52.02%    212,449    50.61%   207,290   49.39%    223,289   53.31%     195,538    46.69%     226,737   54.03%   175,091   41.72%     17,551     4.18%    270     0.06%     244,107   58.37%      174,089       41.63%




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North Carolina General Assembly                                                                                                                                 Elections 2008 Results - 2                                                                                                                                Data Source: NC Board of Elections
                                                                                                                                                                   Wake At Large New


                            2008 Lt. Governor Dalton-Pittenger-Rhodes                       2008 Governor Perdue-McCrory-Munger                                   2008 President Obama-McCain-Barr                                          2008 US Senate Hagan-Dole                                      2008 Straight Party
  District      Dem         Dem %        Rep        Rep %        Lib    Lib %    Dem      Dem %        Rep       Rep %      Lib    Lib %    Dem      Dem %      Rep       Rep %       Lib      Lib %   Other   Other %    Dem      Dem %          Rep      Rep %      Other   Other %    Dem      Dem %     Rep        Rep %        Lib.        Lib%
     1         130,724      63.82%      66,794     32.61%       7,322   3.57%   127,180   60.73%     74,233     35.45%     7,997   3.82%   142,138   67.12%   67,612      31.93%     1,294     0.61%    722     0.34%    138,040   65.81%       65,672     31.31%     6,031    2.88%    79,485    72.63%   29,125     26.61%        834         0.76%
     2         98,111       44.04%     116,686     52.38%       7,957   3.57%   96,852    42.41%     123,011    53.87%     8,489   3.72%   108,753   47.19%   119,389     51.80%     1,637     0.71%    700     0.30%    107,734   47.12%       113,756    49.76%     7,125    3.12%    49,831    47.31%   54,745     51.97%        759         0.72%
                             0.00%                  0.00%               0.00%              0.00%                 0.00%             0.00%              0.00%                0.00%               0.00%            0.00%               0.00%                   0.00%       0      0.00%               0.00%               0.00%                    0.00%

  Totals:     228,835       53.52%    183,480      42.91%     15,279    3.57%   224,032   51.18%    197,244    45.06%     16,486   3.77%   250,891   56.73%   187,001    42.28%      2,931    0.66%    1,422   0.32%     245,774   56.07%      179,428    40.93%     13,156   3.00%     129,316   60.21%   83,870     39.05%       1,593        0.74%




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North Carolina General Assembly                                                             Stat. Pack Report of 2010 Election Results                                                  Data Source: NC Board of Elections
                                                                                                       Wake At Large New

                                                                            2010 Straight Party                                           2010 US Senate Marshall-Burr
                                             District    Dem     Dem %       Rep        Rep %      Lib.       Lib %       Dem       Dem %       Rep       Rep %       Other   Other %
                                                1       43,015   66.43%     21,431     33.10%      310        0.48%      75,171     59.94%     47,327     37.74%      2,910    2.32%
                                                2       28,854   39.85%     43,245     59.72%      316        0.44%      58,153     38.60%     88,805     58.94%      3,716    2.47%
                                                                  0.00%                 0.00%                 0.00%                  0.00%                 0.00%        0      0.00%

                                            Totals:     71,869   52.39%      64,676    47.15%      626       0.46%      133,324    48.29%     136,132    49.31%      6,626    2.40%




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